  Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 1 of 45




                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION



                                )
STATE OF FLORIDA,               )
                                )
    Plaintiff,                  )
                                )
    v.                          )     Civil Action No. 3:21-cv-01066
                                )
The UNITED STATES OF            )
AMERICA, et al.,                )
                                )
    Defendants.                 )
                                )




                    MEMORANDUM IN SUPPORT
                     OF DEFENDANTS’ MOTION
                    TO DISMISS THE COMPLAINT
       Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 2 of 45




                                        TABLE OF CONTENTS

INTRODUCTION .................................................................................................... 2

BACKGROUND ...................................................................................................... 4

STANDARD ............................................................................................................. 7

ARGUMENT ............................................................................................................ 8

  I.     Florida’s Challenges to NTRs are Moot ...................................................... 8

 II.     Florida Lacks Standing ................................................................................. 9

III.     The Court Lacks Subject Matter Jurisdiction Over Plaintiffs’ Claims . 13

             A. Committed to Agency Discretion........................................................ 13

             B. No Final Agency Action ..................................................................... 17

             C. Statutes Preclude Jurisdiction.............................................................. 20

             D. Florida Does Not Fall Within the Zone of Interests............................ 22

IV.      Plaintiff Fails to State a Claim for Relief .................................................. 23

             A. Counts One and Four (Substantive APA Claims) ............................... 24

             B. Count Two (APA Arbitrary and Capricious Claim) ........................... 28

             C. Count Three (APA Notice and Comment) .......................................... 30

             D. Count Five (INA and Constitution Claim) ......................................... 32

CONCLUSION....................................................................................................... 35

CERTIFICATE OF COMPLIANCE .................................................................. 36


                                                          ii
     Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 3 of 45




CERTIFICATE OF SERVICE ............................................................................36




                                                 iii
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 4 of 45




                                    TABLE OF AUTHORITIES

                                                CASE LAW

Alonso-Escobar v. USCIS Field Off. Dir. Miami, Fla.,
  462 F. App'x 933 (11th Cir. 2012) .......................................................................16

Arizona v. United States,
  567 U.S. 387 (2012) ............................................................................ 2, 14, 15, 27

Arpaio v. Obama,
  797 F.3d 11 (D.C. Cir. 2015)................................................................... 10, 12, 13

Ashcroft v. Iqbal,
  556 U. S. 662 (2009) ....................................................................................... 8, 33

Bell Atl. Corp. v. Twombly,
  550 U.S. 544 (2007) ........................................................................................ 8, 29

Bennett v. Spear,
  520 U.S. 154 (1997) .......................................................................... 12, 17, 19, 20

California v. Texas,
 141 S. Ct. 2104 (2021) .........................................................................................10

Cantonis Co. v. Certain Interested Underwriters at Lloyds, London, No.,
 18-81703-CIV, 2019 WL 3429962 (S.D. Fla. May 9, 2019) ...............................24

Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc.,
 467 U.S. 837 (1984) .............................................................................................26

Chiles v. United States,
 69 F.3d 1094 (11th Cir. 1995) ..............................................................................17

City of Columbus v. Trump,
  453 F. Supp. 3d 770 (D. Md. 2020) .....................................................................34

Clarke v. Security Indus. Ass’n,
  479 U.S. 388 (1987) ...................................................................................... 22, 23

Crane v. Johnson,
 783 F.3d 244 (5th Cir. 2015) ................................................................... 11, 15, 27
                                                        iv
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 5 of 45




Ctr. for Biological Diversity v. Zinke,
  260 F. Supp. 3d 11 (D.D.C. 2017)........................................................................30

Damus v. Nielsen,
 313 F. Supp. 3d 317 (D.D.C. 2018) .....................................................................28

Fed’n for Am. Immigration Reform (FAIR), Inc. v. Reno,
  93 F.3d 897 (D.C. Cir. 1996)................................................................................23

Fla. Ass'n of Rehab. Facilities, Inc. v. Fla. Dep't of Health & Rehabilitative Servs.,
  225 F.3d 1208 (11th Cir. 2000) ..............................................................................9

Fla. v. United States,
  No. 8:21-CV-541-CEH-SPF, 2021 WL 1985058 (M.D. Fla. May 18, 2021) .....15

Flores v. Lynch,
  828 F.3d 898 (9th Cir. 2016) ................................................................................10

Foster Children v. Bush,
 329 F.3d 1255 (11th Cir. 2003) ............................................................................13

Garcia-Mir v. Smith,
 766 F.2d 1478 (11th Cir. 1985) ............................................................................15

Hamama v. Adducci,
 912 F.3d 869 (6th Cir. 2018) ................................................................................27

Heckler v. Chaney,
 470 U.S. 821 (1985) ...................................................................................... 13, 16

Hernandez v. Mesa,
 140 S. Ct. 735 (2020) ...........................................................................................34

INS v. Aguirre-Aguirre,
  526 U.S. 415 (1999) .............................................................................................26

Jean v. Nelson,
  727 F.2d 957 (11th Cir. 1984) ....................................................................... 15, 18

Jeanty v. Bulger,
  204 F. Supp. 2d 1366 (S.D. Fla. 2002) .............................................. 16, 20, 28, 33
                                                         v
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 6 of 45




Jennings v. Rodriguez,
  138 S. Ct. (2018)...................................................................................................26

Knauff v. Shaughnessy,
 338 U.S. 537 (1950) ........................................................................................ 4, 33

Lawrence v. Dunbar,
  919 F.2d 1525 (11th Cir. 1990) ..............................................................................7

Lightfoot v. D.C.,
  273 F.R.D. 314 (D.D.C. 2011) ................................................................ 19, 20, 29

Lincoln v. Vigil,
  508 U.S. 182 (1993) .............................................................................................31

Linda R.S. v. Richard D.,
  410 U.S. 614 (1973) ........................................................................................ 9, 23

Loa-Herrera v. Trominski,
  231 F.3d 984 (5th Cir. 2000) ......................................................................... 22, 27

Louisiana v. U.S. Army Corps of Engineers,
  834 F.3d 574 (5th Cir. 2016) ................................................................................20

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) .................................................................................. 9, 12, 30

Matter of Avetisyan,
 25 I. & N. Dec. 688 (BIA 2012) ...........................................................................25

Matter of E-R-M- & L-R-M-,
 25 I.&N. Dec. 520 (BIA 2011) ........................................................................ 4, 26

Matter of J-A-B- & I-J-V-A-,
 27 I. & N. Dec. 168 (BIA 2017) ...........................................................................26

Ministerio Evangelistico Int'l v. United Specialty Ins. Co.,
 No. 16-25313-CIV, 2017 WL 1363344 (S.D. Fla. Apr. 5, 2017) ........................24

Nat'l Mining Ass'n v. McCarthy,
 758 F.3d (2014) ....................................................................................... 18, 19, 20
                                                          vi
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 7 of 45




National Parks Conservation Ass’n v. Norton,
 324 F.3d 1229 (11th Cir. 2003) ............................................................................18

Nat'l Treasury Emps. Union v. Nixon,
 492 F.2d 587 (D.C. Cir. 1974)..............................................................................34

Nasrallah v. Barr,
 140 S. Ct. 1683, 1689 (2020). ................................................................................4

Norton v. Southern Utah Wilderness Alliance,
 542 U.S. 55 (2004) ...............................................................................................30

Padilla v. ICE,
 953 F.3d 1134 (9th Cir. 2020) ..............................................................................28

Reno v. Am.-Arab Anti-Discrimination Comm.,
  525 U.S. 471 (1999) ..................................................................................... passim

Robbins v. Reagan,
 616 F. Supp. 1259 (D.D.C.)..................................................................................34

Ryder Truck Lines,
  716 F.2d ......................................................................................................... 31, 32

Sierra Club v. E.P.A.,
  315 F.3d 1295 (11th Cir. 2002) ..............................................................................8

Simon v. E. Kentucky Welfare Rights Org.,
  426 U.S. 26 (1976) ...............................................................................................12

State of Mississippi v. Johnson,
  71 U.S. 475, 18 L. Ed. 437 (1866) .......................................................................34

Sure-Tan, Inc. v. NLRB,
  457 U.S. 883 (1984) .............................................................................................23

Town of Castle Rock v. Gonzales,
  545 U.S. 748 (2005) ................................................................................ 14, 24, 25

United States v. Fausto,
 484 U.S. 439 (1988) .............................................................................................24
                                                           vii
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 8 of 45




United States v. Florida E. Coast Ry.,
 410 U.S. 224 (1973) .............................................................................................31

United States v. Velasquez Velasquez,
 524 F.3d 1248 (11th Cir. 2008) ............................................................................33

Wilderness Soc’y v. Norton,
 434 F.3d 584 (D.C. Cir. 2006)..............................................................................18

                                           FEDERAL STATUTES

5 U.S.C. § 533 ..........................................................................................................31

5 U.S.C. § 551(6) .....................................................................................................31

5 U.S.C. § 551(7) .....................................................................................................31

5 U.S.C. § 553 ..........................................................................................................30

5 U.S.C. § 553(b)(3)(A) ...........................................................................................31

5 U.S.C. § 701(a)(1) .................................................................................................21

5 U.S.C. § 701(a)(2) .................................................................................................13

5 U.S.C. § 704 ..........................................................................................................17

5 U.S.C. § 706(1) .....................................................................................................25

5 U.S.C. § 706(2)(A)................................................................................................24

5 U.S.C. § 706(2)(C) ................................................................................................24

6 U.S.C. § 202(5) ................................................................................................ 4, 17

6 U.S.C. § 251 ............................................................................................................4

6 U.S.C. § 552(d) .......................................................................................................4

8 U.S.C. § 1103(a)(1) ...............................................................................................28


                                                           viii
      Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 9 of 45




8 U.S.C. § 1103(a)(3) .......................................................................................... 4, 17

8 U.S.C. § 1182(d)(5)....................................................................................... passim

8 U.S.C. § 1182(d)(5)(A) ...................................................................... 16, 19, 22, 27

8 U.S.C. § 1225 ........................................................................................................14

8 U.S.C. § 1225(a)(1) .................................................................................................5

8 U.S.C. § 1225(b) .....................................................................................................2

8 U.S.C. § 1225(b)(1).................................................................................................4

8 U.S.C. § 1226a(b)(1) .............................................................................................24

8 U.S.C. § 1226(e) ............................................................................................ 24, 27

8 U.S.C. § 1229a ........................................................................................................4

8 U.S.C. § 1229c(f) ..................................................................................................24

8 U.S.C. § 1231(h) ...................................................................................................24

8 U.S.C. § 1252(a)(2)(A) .........................................................................................24

8 U.S.C. § 1252(a)(2)(A)(i) .....................................................................................22

8 U.S.C. § 1252(a)(2)(A)(iv) ...................................................................................22

8 U.S.C. § 1252(a)(2)(B)(ii) ................................................................. 16, 24, 27, 30

8 U.S.C. § 1252(a)(2)(C) .........................................................................................24

8 U.S.C. § 1252(a)(5) ...............................................................................................24

8 U.S.C. § 1252(b)(4)(D) .........................................................................................24

8 U.S.C. § 1252(b)(9)...............................................................................................24

8 U.S.C. § 1252(d) ...................................................................................................24

8 U.S.C. § 1252(f) ....................................................................................................24
                                                           ix
     Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 10 of 45




8 U.S.C. § 1252(f)(1) ...............................................................................................27

8 U.S.C. § 1252(g) ............................................................................................ 21, 24

                                       FEDERAL REGULATIONS

8 C.F.R. § 212.5 ................................................................................................ 20, 30

8 C.F.R. § 212.5(b)(5) ..............................................................................................28

                                             MISCELLANEOUS

ICE, Exercising Prosecutorial Discretion Consistent with the Civil Immigration
  Enforcement Priorities of the Agency for the Apprehension, Detention, and
  Removal of Aliens, (June 17, 2011), available at
  https://www.ice.gov/doclib/secure-communities/pdf/prosecutorial-discretion-
  memo.pdf ..............................................................................................................32

ICE Policy Directive No. 11002.1, Parole of Arriving Aliens Found to Have a
  Credible Fear of Persecution or Torture, (Dec. 8, 2009), available at
  https://www.ice.gov/doclib/dro/pdf/11002.1-hd-
  parole_of_arriving_aliens_found_credible_fear.pdf ............................................32




                                                            x
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 11 of 45




                                INTRODUCTION

      The “federal power to determine immigration policy is well settled.” Arizona

v. United States, 567 U.S. 387, 395 (2012). Because immigration policy affects many

complex and important areas, Congress constructed an immigration enforcement

system whose “principal feature” is the “broad discretion exercised by immigration

officials.” Id. at 395-96. This reflects the reality—embodied in every Presidential

administration’s policies for decades—that officials must deploy limited resources

according to priorities set by policymakers.

      Consistent with that reality, earlier this year, U.S. Customs and Border

Protection (CBP), a component of the Department of Homeland Security (DHS)

responsible for enforcing immigration laws at ports of entry and at the border

between ports of entry, authorized immigration officers at the border to take certain

enforcement actions in specific circumstances to relieve overcrowding in congregate

settings, to better protect its workforce and noncitizens in CBP custody, and to

prioritize its limited enforcement resources.

      Florida asks the Court to reconsider the Executive’s prosecutorial discretion

and border enforcement decisions and curtail its discretion to charge, detain, and/or

release inadmissible noncitizens arriving at the Southwest border. Florida maintains

that 8 U.S.C. § 1225(b) requires the government to initiate removal proceedings

against every noncitizen arriving at the southern border, and to detain them for those


                                          2
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 12 of 45




proceedings without exception. It alleges any contrary actions violate the

Administrative Procedure Act (APA), the Immigration and Nationality Act (INA),

and the Take Care Clause.

      Florida misreads the law, which does not require DHS to detain all

inadmissible noncitizens arriving or encountered at the border, or limit its discretion

to institute removal proceedings. The INA demonstrates Congress’s intent to allow

the Executive to exercise its enforcement discretion in deciding what removal

proceedings to initiate and who to detain for those proceedings. Nothing in the INA

prohibits DHS from “declin[ing] to institute proceedings.” Reno v. Am.-Arab Anti-

Discrimination Comm., 525 U.S. 471, 484 (1999). Likewise, there is no qualification

to DHS’s discretion to release such individuals “temporarily … on a case-by-case

basis for urgent humanitarian reasons or significant public benefit.” 8 U.S.C. §

1182(d)(5).

      Florida’s claims are nonjusticiable and without merit. Florida’s claims must

be dismissed because they are filed in the wrong venue, are partially moot, they lack

standing, and the actions they challenge are committed to agency discretion, not final

agency action, and precluded from review by statute. Florida also lacks a cognizable

cause of action to enforce the INA, and its claims all fail on the merits. Accordingly,

should the Court decide this motion before it decides the pending motion to transfer,

the Court should dismiss this case pursuant to Rule 12(b)(1), 12(b)(3), and 12(b)(6).


                                          3
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 13 of 45




                                BACKGROUND

      Legal Background. The Executive Branch has broad constitutional and

statutory power over the administration and enforcement of the nation’s immigration

laws. Knauff v. Shaughnessy, 338 U.S. 537, 543 (1950); see, e.g., 6 U.S.C. § 202(5);

8 U.S.C. § 1103(a)(3). For decades, the Executive has exercised its discretionary

authority to determine which noncitizens to prioritize for removal and through what

type of proceedings.

      Congress has provided DHS with various overlapping tools, including

authority in 8 U.S.C. § 1225(b)(1) to initiate expedited removal proceedings against

certain applicants for admission.1 The Secretary may also place a noncitizen seeking

admission into full removal proceedings held before an immigration judge under

8 U.S.C. § 1229a if the noncitizen is not “clearly and beyond a doubt entitled to be

admitted,” id. § 1225(b)(2)(A), by issuing a “Notice to Appear” (NTA), the charging

document which initiates removal proceedings under section 1229a. The statute

leaves to DHS’s discretion whether to use expedited or full removal proceedings for

noncitizens eligible for both. See Matter of E-R-M- & L-R-M-, 25 I.&N. Dec. 520,

523 (BIA 2011). Settled law also authorizes DHS not to initiate proceedings for



1
 References to the Attorney General in § 1225 now mean the Secretary. 6 U.S.C.
§§ 251, 552(d). “Noncitizen” is the equivalent of the statutory term “alien.”
Nasrallah v. Barr, 140 S. Ct. 1683, 1689 n.2 (2020).

                                         4
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 14 of 45




individuals. Reno, 525 U.S. at 484. Further, within certain limits, DHS may either

detain or release applicants for admission pending their removal proceedings. 8

U.S.C. §§ 1182(d)(5), 1225(b)(2)(A), 1226(a).2 DHS may at its “discretion parole

noncitizens into the United States temporarily “on a case-by-case basis for urgent

humanitarian reasons or significant public benefit any alien applying for admission

to the United States.” Id. § 1182(d)(5). DHS may also release on bond or conditional

parole certain noncitizens arrested within the United States. 8 U.S.C. § 1226(a).

      Procedural Background. Beginning in March 2021, CBP temporarily

authorized the use of “notices to report” (“NTRs”) to relieve overcrowding in

congregate settings and to better protect its workforce and noncitizens in CBP

custody “when [noncitizen] encounters were consistently high, operational capacity

strained, and COVID-19 acute.” Exhibit A, Parole Plus Alternatives to Detention

(Nov. 2, 2021) at 1. CBP authorized NTRs for issuance to individuals and family

units processed through operationally strained border sectors on a case-by-case basis

after initial processing and biometric screening. Id. NTRs were permitted in place of

NTAs, the issuance of which are considerably more time consuming due to the

necessary interagency coordination for initiating removal proceedings and creating

an administrative record for the proceeding. Id. Substituting NTRs for NTAs



2
 An applicant for admission is a noncitizen “present in the United States who has
not been admitted or who arrives in the United States.” 8 U.S.C. § 1225(a)(1).
                                         5
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 15 of 45




decreased processing time substantially, especially for family units, and ensured that

families could be more expeditiously moved out of CBP custody. Id.

      On November 2, 2021, CBP issued a memorandum ceasing the use of NTRs.

Id. Going forward, CBP will prioritize resources to issue NTAs to noncitizens being

processed for release. Id. The memorandum outlines a narrow set of circumstances,

applying exclusively to family units processed through the Del Rio (“DRT”) or Rio

Grande Valley (“RGV”) sectors, in which alternative processing may be permitted

by using parole in connection with ICE’s Alternatives to Detention (“ATD”)

program. Id. at 2. The availability of this process is triggered “when the temporary

staffing support to the sector is maximized, the seven-day average of encounters is

greater than the sector’s Fiscal Year 2019 May daily average,” and when the number

of subjects who were taken into custody in the last 48 hours exceeds the number of

individuals booked out in the same period and at least one of the following is true:

(1) the average time in custody in the sector exceeds 72 hours or (2) the sector

exceeds 100% of the total non-COVID detention capacity. Id. Under this process, a

U.S. Border Patrol agent may exercise discretion to release a family unit on parole

prior to the issuance of an NTA, enroll them in ICE ATD, and as a condition of their

parole, require them to report to ICE within 15 days for issuing an NTA. Id. at 1-2.

This alternative processing is not available to individuals determined to be a national




                                          6
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 16 of 45




security risk or public safety threat, or covered by the U.S. Centers for Disease

Control and Prevention’s Title 42 Order. Id. at 3.

      This Lawsuit. In this case, Florida alleges that CBP’s use of NTRs

specifically, and its release on parole of noncitizens on a case-by-case basis

generally, violate the APA (Counts 1-4), INA (Count 2), and the INA and Take Care

Clause (Count 5). Id. ¶¶ 9, 29, 52-72. Plaintiff asks that the Court hold unlawful and

set aside Defendants’ alleged “policy of releasing arriving aliens subject to

mandatory detention, of paroling aliens without engaging in case-by-case

adjudication or abiding by the other limits on that authority, and of failing to serve

charging documents or initiate removal proceedings” and to permanently enjoin

Defendants “from enforcing that policy.” ECF 1 at 21.

                                    STANDARD

      Challenges to subject-matter jurisdiction under Rule 12(b)(1) may be either

facial or factual. Lawrence v. Dunbar, 919 F.2d 1525, 1528–29 (11th Cir. 1990).

Facial attacks on the complaint “require[ ] the court merely to look and see if [the]

plaintiff has sufficiently alleged a basis of subject matter jurisdiction.” Id. at 1529.

“‘Factual attacks” on the other hand, “challenge the existence of subject matter

jurisdiction in fact … and matters outside the pleadings, such as testimony and

affidavits, are considered.” Id.




                                           7
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 17 of 45




      Under Rule 12(b)(6), “a complaint must contain sufficient factual matter,

accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U. S. 662, 678 (2009). Conclusory statements and legal conclusions are

not afforded a presumption of truth. Id. Allegations that are merely “conceivable”

and fail to rise “above the speculative level” are insufficient to meet the plausibility

standard. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007).

                                    ARGUMENT

      At the threshold, the Court should dismiss the Complaint pursuant to Rule

12(b)(3) for improper venue under 28 U.S.C. § 1406(a) and Local Rule 3.1(B) for

the reasons explained in Defendants’ simultaneously filed Motion to Transfer

Venue. Should the Court not dismiss or transfer the case, the Court should dismiss

the case under Rule 12(b)(1) because the NTR allegations are moot, Florida lacks

standing, the APA’s threshold requirements are not satisfied, and the INA precludes

jurisdiction. Alternatively, the case should be dismissed under Rule 12(b)(6) because

none of Plaintiff’s counts state a plausible claim for relief.3

      I.     Florida’s Challenges to NTRs are Moot.




3
 To the extent the Court does not dismiss the complaint in its entirety, all defendants
except CBP should be dismissed because the complaint does not make any
allegations against any of the other components of DHS, which are not involved in
making admission and release determinations of noncitizens apprehended and
inspected at or near the border.
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    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 18 of 45




      Plaintiff’s challenge to CBP’s use of NTRs is moot because CBP has

permanently ended the use of NTRs. Ex. A; Sierra Club v. E.P.A., 315 F.3d 1295,

1299 (11th Cir. 2002) (“If events that occur subsequent to the filing of a lawsuit or

an appeal deprive the court of the ability to give meaningful relief, then the case is

moot and must be dismissed.”). CBP’s November 2021 memorandum superseded

the NTR guidance in all respects, such that any “decision on the merits” regarding

NTRs “would be an impermissible advisory opinion.” Fla. Ass’n of Rehab.

Facilities, Inc. v. Fla. Dep’t of Health & Rehabilitative Servs., 225 F.3d 1208, 1217

(11th Cir. 2000).

      II.    Florida Lacks Standing.

      Florida’s case fails at the outset because it cannot demonstrate any actual or

imminent injury caused by the challenged policies. See Lujan v. Defs. of Wildlife,

504 U.S. 555, 560 (1992). Although Florida fails to identify any specific challenged

policy, the complaint addresses: (1) the now-discontinued use of NTRs; (2) the

current use of parole for recent entrants, including the use of parole with ATD for

family units where approved sectors satisfy strict volume and capacity standards, see

Ex. A. See e.g., ECF 1 at ¶¶ 52-70. Despite the narrowness of these challenges,

Florida alleges generalized harms based on its preference to prevent noncitizens

arriving at the Southwest border from living in Florida. But it is well-settled that no

one has a legally protected interest in the prosecution of another. Linda R.S. v.


                                          9
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 19 of 45




Richard D., 410 U.S. 614, 619 (1973). Further, the law already permits (and, in some

instances, requires) the release of these individuals from immigration detention.

Thus, none of the harms alleged by Florida are fairly traceable to challenged policies,

nor are they capable of being remedied by an order by this Court.

      Florida cannot show any actual or imminent harm from DHS’s discontinued

practice of issuing NTRs. Even assuming Florida’s challenge to these documents

were not moot, previously issued NTRs have expired and individuals issued NTRs

have been directed to report for processing. Ex. A at 1. Thus, any alleged impact on

Florida caused by noncitizens released on NTRs stems not from the policy, but from

individual noncompliance, for which standing is “substantially more difficult to

establish.” California v. Texas, 141 S. Ct. 2104, 2117 (2021). And, Florida cannot

show that the use of an NTR, rather than an NTA, meaningfully impacted an

individual’s decision whether to abscond. See Arpaio v. Obama, 797 F.3d 11, 15-20

(D.C. Cir. 2015) (rejecting injury as too attenuated where challenged policy did not

apply to current and future entrants).

      Nor can Florida plausibly allege any harm from DHS’s limited practice of

using parole, at times in tandem with ICE’s ATD program, for certain family units.

Despite calling detention under section 1225(b) “mandatory,” Florida concedes that

DHS has the authority to release individuals on parole on a case-by-case basis. ECF

1 ¶ 6. Indeed, DHS is obligated to release noncitizen minors “without unnecessary


                                          10
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 20 of 45




delay” or, in the case of an emergency or influx, transfer them to a licensed program

“as expeditiously as possible.” See Flores v. Lynch, 828 F.3d 898, 905 (9th Cir.

2016) (confirming settlement agreement applies to accompanied minors); Flores

Settlement Agreement ¶¶ 12.A, 14).

      To the extent Florida is challenging that individuals are paroled too often, this

claim is similarly non-justiciable. Simply providing evidence that a “state provides

social benefits” to state residents, and speculating that costs will increase if the

population increases, is insufficient to satisfy the requirements of Article III

standing, which “mandate” Plaintiffs show “a ‘concrete and particularized’ injury

that is ‘fairly traceable’” to the challenged government action. Crane v. Johnson,

783 F.3d 244, 252 (5th Cir. 2015).

      Plaintiff alleges that the policy will increase its noncitizen population, and that

Florida will expend more resources on noncitizens than they otherwise would. ECF

No. 1 ¶¶ 46-50 (alleging costs associated with prison, public education, public

charge, and emergency medical care). But a state “has not suffered an injury in fact

to a legally cognizable interest” when “a federal government program is anticipated

to produce an increase in that state’s population and a concomitant increase in the

need for the state’s resources.” Arpaio v. Obama, 27 F. Supp. 3d 185, 202 (D.D.C.

2014), aff’d, 797 F.3d 11. Such an injury is a generalized grievance; to accept it

“would permit nearly all state officials to challenge a host of Federal laws simply


                                          11
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 21 of 45




because they disagree with how many—or how few—Federal resources are brought

to bear on local interests.” Id.

      Again, however, any such costs are not fairly traceable to the challenged

policies because Florida complains of harms caused, if at all, by third parties, see

Lujan, 504 U.S. at 562, and Florida cannot show the challenged conduct has a

“determinative or coercive effect upon the action of someone else.” Bennett v. Spear,

520 U.S. 154, 169 (1997).

      Indeed, Plaintiff’s theories of standing here are of another kind entirely: the

alleged injuries, assuming they occur, would be the result of “unfettered choices

made by independent actors,” Lujan, 504 U.S. at 562. For example, increased

medical expenses caring for noncitizens, would be the result of events unrelated to

the challenged policies, including noncitizens needing medical care, noncitizens not

paying for that care, healthcare providers requesting the States to pay, and the States

paying without federal reimbursement. Cf. Simon v. E. Kentucky Welfare Rights

Org., 426 U.S. 26, 43 (1976). Similarly, Florida’s suggestion that an increase in

noncitizens living in the state would increase crimes committed by noncitizens

ignores the independent decision of the individuals committing the crimes. The

challenged policies do not encourage or cause any noncitizen to perform an illegal

act. See Foster Children v. Bush, 329 F.3d 1255, 1266 (11th Cir. 2003) (holding that

future injury that depends on the unauthorized acts of a third party “is too speculative


                                          12
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 22 of 45




to satisfy standing requirements”); accord Arpaio, 797 F.3d at 15-20. Florida

therefore lacks standing.

      III. The Court Lacks Subject-Matter Jurisdiction Over Florida’s Claims.

      Florida’s claims are barred by the APA and INA. The challenged policies are

committed to agency discretion, do not constitute final agency action, are precluded

by the INA, and do not fall within the INA’s zone of interests.

   A. Committed to Agency Discretion

   Under the APA, a plaintiff may not obtain judicial review of agency action

“committed to agency discretion by law.” 5 U.S.C. § 701(a)(2). Both alleged

activities Florida challenges fall under this exception.

      First, the decision whether to commence a removal proceeding or to release

instead with an NTR is committed to agency discretion. The choice to refrain from

pursuing particular enforcement actions is “generally committed to an agency’s

absolute discretion.” Heckler v. Chaney, 470 U.S. 821, 831 (1985). Such decisions

“often involve[] a complicated balancing of a number of factors which are peculiarly

within [the agency’s] expertise,” including “whether agency resources are best spent

on this violation or another, whether the agency is likely to succeed if it acts, whether

the particular enforcement action requested best fits the agency’s overall policies,

and, indeed, whether the agency has enough resources to undertake the action.” Id.




                                           13
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 23 of 45




Florida does not dispute that the presumption against reviewability applies to

enforcement decisions, but contends only that Congress imposed statutory duties on

DHS through 8 U.S.C. § 1225. The statute, however, imposes no unconditional duty

on DHS. See infra pp. 24-28. In brief, Congress has not displaced the power inherent

to the Executive to exercise prosecutorial discretion—a power the Supreme Court

has held is “greatly magnified” in the immigration context, AADC, 525 U.S. at 490,

as immigration policy may also “affect trade, investment, tourism, and diplomatic

relations for the entire Nation, as well as the perceptions and expectations of aliens

in this country who seek the full protection of its laws,” and the “nation’s foreign

policy.” Arizona v. United States, 567 U.S. 387, 395, 397 (2012). Although section

1225 uses the word “shall,” the Supreme Court has instructed that the “deep-rooted

nature of law-enforcement discretion” persists “even in the presence of seemingly

mandatory legislative commands.” Town of Castle Rock v. Gonzales, 545 U.S. 748,

761 (2005).

      The justification for dismissal is further bolstered by examination of section

1225. DHS has “broad discretion” to decide “whether it makes sense to pursue

removal at all.” Arizona, 567 U.S. at 396. DHS may “decline to institute

proceedings” in the first instance. AADC, 525 U.S. at 484; see also Crane, 783 F.3d

at 249 (“[Section 1225] does not limit the authority of DHS to determine whether to

pursue the removal of the immigrant.”). Congress has not required that DHS initiate


                                         14
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 24 of 45




removal proceedings and detain every undocumented inadmissible noncitizen it

encounters at or near the border, and CBP’s policy prioritizing when and how to

issue NTAs at crowded border patrol stations is committed to agency discretion by

law. See, e.g., Fla. v. United States, No. 8:21-CV-541-CEH-SPF, 2021 WL

1985058, at *10 (M.D. Fla. May 18, 2021) (concluding that policy guiding

enforcement discretion is committed to agency discretion by law); Arizona, 2021

WL 2787930, at *9-11 (same).

      Second, “Congress has delegated remarkably broad discretion to executive

officials under the [INA]” and its grants of authority “are nowhere more sweeping

than in the context of parole.” Garcia-Mir v. Smith, 766 F.2d 1478, 1484 (11th Cir.

1985); see Jean v. Nelson, 727 F.2d 957, 966 & n.8 (11th Cir. 1984), aff’d, 472 U.S.

846 (1985) (Jean II). Accordingly, the parole statute provides that the Secretary

“may … in his discretion parole into the United States temporarily under such

conditions as he may prescribe only on a case-by-case basis for urgent humanitarian

reasons or significant public benefit any alien applying for admission,” 8 U.S.C. §

1182(d)(5)(A) (emphasis added). Courts lack jurisdiction to review the discretionary

decision whether to parole an individual under 8 U.S.C. § 1252(a)(2)(B)(ii). See e.g.,

Alonso-Escobar v. USCIS Field Off. Dir. Miami, Fla., 462 F. App’x 933, 935 (11th

Cir. 2012) (unpublished); Jeanty v. Bulger, 204 F. Supp. 2d 1366, 1382 (S.D. Fla.

2002), aff’d, 321 F.3d 1336 (11th Cir. 2003); infra p. 21.


                                         15
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 25 of 45




      Regardless of section 1252(a)(2)(B)(ii), the decision to release an individual

on parole involves the same “complicated balancing of a number of factors which

are peculiarly within [the agency’s] expertise.” Heckler, 470 U.S. at 831. Indeed,

parole determinations encompass, among other things, “the possibility that [a

noncitizen] may abscond to avoid being returned to his or her home country,”

“priorities for the use of limited detention space,” whether detention is in the public

interest, and of course, the statutorily undefined requirements that parole be for

“urgent humanitarian reasons or significant public benefit.” See Jeanty, 204 F. Supp.

2d at 1377-78, 1382; 8 U.S.C. § 1182(d)(5). As such, the decision to release an

individual on parole is committed to agency discretion and not subject to judicial

review.

      Finally, Florida’s argument essentially maintains that section 1225 forecloses

CBP from having any enforcement priorities with respect to initiating removal

proceedings and paroling individuals under section 1182(d)(5), but rather must

proceed under an aimless policy of ad hoc—but nominally “absolute”—

enforcement. But Congress has said otherwise, authorizing DHS and its components

to establish “immigration enforcement policies and priorities,” 6 U.S.C. § 202(5),

and to “issue such instructions” and “perform such other acts as he deems necessary

for carrying out [DHS’s] authority” under the INA, 8 U.S.C. § 1103(a)(3). Indeed,

“[t]he overall statutory scheme established for immigration demonstrates that


                                          16
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 26 of 45




Congress intended whether the [Secretary] is adequately guarding the borders of the

United States to be committed to agency discretion by law and, thus, unreviewable.”

Chiles v. United States, 69 F.3d 1094, 1096 (11th Cir. 1995).

   B. No Final Agency Action

      Plaintiff’s challenge to Defendants’ alleged parole and NTR policies do not

challenge “final agency action” subject to judicial review. 5 U.S.C. § 704. Agency

action is final if it determines legal “rights or obligations.” Bennett v. Spear, 520

U.S. 154, 178 (1997). To the extent they constitute “policies,” rather than individual

enforcement decisions amalgamated by Florida into a “policy” for purposes of this

suit, they do not finally determine legal rights or obligations. As the Eleventh Circuit

has held, agency action that “does not itself adversely affect” a party but instead

“only affects his rights adversely on the contingency of future administrative action”

is “nonfinal.” Nat’l Parks Conservation Ass’n v. Norton, 324 F.3d 1229, 1237 (11th

Cir. 2003)

      Neither the NTR nor the alleged parole “policies” satisfy this rule. As to the

NTR guidance and its replacement, “Parole Plus,” neither creates legal rights nor

imposes legal obligations. Nat’l Mining Ass’n, 758 F.3d at 250. Indeed, the agency

retains the discretion to alter or revoke the guidance at will, so the guidance is

nonfinal notwithstanding any expectation that rank-and-file officers will comply

with the guidance while it is in effect. Cf. Wilderness Soc’y v. Norton, 434 F.3d 584,


                                          17
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 27 of 45




596 (D.C. Cir. 2006). Nor does the NTR and Parole Plus guidance require CBP

officers to take any specific action in any specific circumstance. Under the policy,

CBP officers retained discretion on a “case-by-case basis” to release an individual

on an NTR, now on Parole Plus, or to take any other enforcement action authorized

by statute. Ex. A at 1-2. Agency officials are thus “free to exercise discretion” to

grant or deny release in particular cases, such that the NTR and Parole Plus guidance

does not constitute final agency action. See Jean I, 711 F.2d at 1481. As another

court in this Circuit recently held, such guidance “constitute a prioritization and not

a prohibition of enforcement. The policies do not change anyone’s legal status nor

do they prohibit the enforcement of any law or detention of any noncitizen,” and so

are not final agency action. Florida, 2021 WL 1985058, at *9.

        Second, Florida has not identified any parole “policy” that exists generally.

Instead, Florida challenges an amalgam of parole decisions made by DHS at the

Southwest border. But as explained, parole is an individual discretionary decision

made on a “case by case basis.” 8 U.S.C. § 1182(d)(5)(A). Accordingly, Plaintiff

cannot establish a unified “policy” to challenge. Cf. Lightfoot v. D.C., 273 F.R.D.

314, 326 (D.D.C. 2011) (“The question is not whether a constellation of disparate

but equally suspect practices may be distilled from the varying experiences” but

rather, Plaintiffs must first identify the ‘policy or custom’ they contend violates the”

law).


                                          18
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 28 of 45




      A particular noncitizen’s parole decision may be a final agency action with

respect to that individual, as that decision has direct consequences for their personal

legal status regarding detention versus release. See Nat’l Min. Ass’n, 758 F.3d at

253. But an individual noncitizen’s decision is not final with respect to Florida,

because such an individual decision does not constitute the “direct and appreciable

legal” consequences to Florida that the APA’s finality inquiry requires. Bennett, 520

U.S. at 178. Defendants’ mere alleged announcement of overarching guidelines or

priorities for making such individualized parole decisions, as Florida claims is at

issue here, prior to those guidelines being applied on a case-by-case basis, does not

constitute final agency action. See id.

      Regardless, even were there an actual general “parole” policy, it would not

constitute final agency action for the same reasons. Parole by its nature requires a

case-by-case assessment and Plaintiff has identified nothing that requires DHS

officers to take a specific action with respect to parole in any specific case. See 8

U.S.C. § 1182(d)(5); 8 C.F.R. § 212.5. No identified policy “prevent[s] DHS

officials from granting [or denying] parole” in any specific case. Jeanty, 204 F. Supp.

2d at 1383.

      To the extent Florida argues that anticipated costs for public services caused

by the possible increase in migration to Florida due to Defendants’ parole practices

indicates that these practices have determined rights and obligations, that contention


                                          19
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 29 of 45




fails. Defendants’ guidance to enforcement officers on how to use their discretion

regarding release of noncitizens does not “require” any State or noncitizen “to do

anything” nor does it “prohibit” any State or noncitizen “from doing anything.” Nat’l

Mining Ass’n, 758 F.3d at 252. If more noncitizens than usual settle in Florida

because of Defendants’ actions, there may be downstream practical consequences

to Plaintiff, such as increased expenditures on social services. See e.g., Louisiana v.

U.S. Army Corps of Engineers, 834 F.3d 574, 583 (5th Cir. 2016) (distinguishing

practical consequences from legal consequences). These consequences, however, do

not constitute the “direct and appreciable legal” consequences that the APA’s

finality inquiry requires. Bennett, 520 U.S. at 178.

   C. Statutes Preclude Jurisdiction

      The INA, and therefore the APA, also bars Florida’s claims. See 5 U.S.C.

§ 701(a)(1).

      Section 1252(g). Florida’s claim that DHS must issue NTAs to each

inadmissible noncitizen apprehended at or near the border, and inspected under

section 1225, is barred by section 1252(g). Section 1252(g) bars jurisdiction over

any “claim by or on behalf of any alien arising from the decision or action by the

[Secretary] to commence proceedings, adjudicate cases, or execute removal orders

against any alien under this chapter.” Section 1252(g) reflects Congress’s desire to

“protect[] the Executive’s discretion from the courts” in general and from “attempts


                                          20
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 30 of 45




to impose judicial constraints upon prosecutorial discretion” in particular. AADC,

525 U.S. at 485-86, 485 n.9.

      Florida challenges the NTR policy on the grounds that “the government is also

required to initiate removal proceedings against these aliens,” ECF No. 1 ¶ 26.

Plaintiff thus challenges Defendant’s decision whether to “commence proceedings,”

a claim which falls squarely under the jurisdictional bar of section 1252(g). See

AADC, 525 U.S. at 487.

      Section 1252(a)(2)(b)(ii)). Florida’s challenges to Defendants’ individual

decisions to release noncitizens on parole are barred by section 1252(a)(2)(B)(ii)—

which bars review of “decision or action[s] … the authority for which is specified

under this subchapter to be in the discretion of … the Secretary of Homeland

Security”—as the parole decision is expressly specified by the INA to be within the

Secretary’s discretion. 8 U.S.C. § 1182(d)(5)(A); supra pp. 15-16.4

      The court would similarly lack jurisdiction over any challenge to a parole

policy or procedure. See Loa-Herrera v. Trominski, 231 F.3d 984, 991 (5th Cir.

2000) (“discretionary judgment regarding the application of parole . . . is not subject

to review”).



4
  To the extent Florida challenges the decision not to serve NTAs on noncitizens
subject to section 1225(b)(1), i.e., amenable to expedited removal but showing a
credible fear of persecution or torture, review of these decisions is separately barred
by the INA. See 8 U.S.C. § 1252(a)(2)(A)(i), (iv).
                                          21
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 31 of 45




   D. Florida Does Not Fall Within the Zone of Interests

      Florida’s claims also do not fall within the zone of interests of

sections 1182(d)(5) or 1225(b). This inquiry asks whether Congress intended for a

particular plaintiff to invoke a particular statute to challenge agency action. See

Clarke v. Security Indus. Ass’n, 479 U.S. 388, 399 (1987). If a plaintiff is not the

object of a challenged regulatory action—which Florida is not—the plaintiff has no

right of review as its “interests are so marginally related to or inconsistent with the

purposes implicit in the statute that it cannot reasonably be assumed that Congress

intended to permit the suit.” Clarke, 479 U.S. at 399.

      Nothing in the text, structure, or purpose of the INA generally, or sections

1182(d)(5) or 1225(b) specifically, suggests that Congress intended to permit a State

to invoke attenuated financial impacts of immigration enforcement policies to

contest those policies. See Fed’n for Am. Immigration Reform (FAIR), Inc. v. Reno,

93 F.3d 897, 902 (D.C. Cir. 1996) (“FAIR”) (“The immigration context suggests the

comparative improbability of any congressional intent to embrace as suitable

challengers in court all who successfully identify themselves as likely to suffer from

the generic negative features of immigration.”). FAIR rejected a similar challenge

that the federal government’s “scheme for parole” of arriving noncitizens violated

statutory limits on parole authority, holding that plaintiff was not within the zone of

interests there was nothing in the “language of the statutes on which it relies” nor


                                          22
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 32 of 45




the “legislative history that even hints at a concern about regional impact” of

immigration. Id. at 900-01. So too here.

      Indeed, a litigant does not have a “judicially cognizable interest” in another’s

prosecution, Linda R.S., 410 U.S. at 619, or “in procuring enforcement of the

immigration laws” against third parties in particular ways. Sure-Tan, Inc. v. NLRB,

457 U.S. 883, 897 (1984). Congress has enacted several provisions specifically

aimed at protecting the Executive’s discretion from the courts, AADC, 525 U.S. at

486–87, making clear that only noncitizens may challenge enforcement decisions,

and only certain types of decisions, and only through their removal proceedings. See,

e.g., 8 U.S.C. §§ 1226(e); 1252(a)(2)(B)(ii), 1252(a)(5), (b)(9), (g); see also id.

§§ 1226a(b)(1), 1229c(f), 1231(h), 1252(a)(2)(A), (a)(2)(C), (b)(4)(D), (b)(9), (d),

(f), (g); United States v. Fausto, 484 U.S. 439, 448 (1988) (a detailed review scheme

that allows some parties, but not others, to challenge specific executive action is

“strong evidence that Congress intended to preclude [other parties] from obtaining

judicial review”).

      IV.    Plaintiff Fails to State a Claim for Relief.

      The complaint must also be dismissed under Rule 12(b)(6) as each of the six

counts5 fails to state a plausible, cognizable claim for relief.


5
  Count Six does not make any independent claim, asserting only “[f]or the same
reasons described in Counts 1 and 5, Florida is entitled to a declaratory judgment

                                           23
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 33 of 45




      A. Counts One and Four (Substantive APA Claims)

      Counts One and Four assert essentially the same claim: Defendants’ practices

are “not in accordance with law” or “in excess of statutory . . . authority,” 5 U.S.C.

§ 706(2)(A), (C) (Count 1), and are “unlawfully withheld or unreasonably delayed,”

5 U.S.C. § 706(1) (Count 4), because they allegedly violate detention mandates of

section 1225(b)(1) and (2) and the parole provision, 8 U.S.C. 1182(d)(5)(A). ECF

No. 1 ¶¶ 52-57, 67-68.

      These claims fail as a matter of law because the cited statutes do not support

Plaintiff’s theory of wrongdoing. Sections 1225(b)(1) and (2) do not require that

Defendants initiate removal proceedings or detain every noncitizen encountered at

or near the border.

      First, as discussed, supra pp. 13-17, nothing in sections 1225(b)(1) and (b)(2)

overcomes the “deep-rooted nature of law-enforcement discretion.” Town of Castle

Rock, 545 U.S. at 760-61. The fact that § 1225(b) uses the terms “shall ... detain[]”

and “shall order” does not constrain the government’s longstanding discretion to

determine whether commencement of removal proceedings is appropriate. DHS is

“invested with the sole discretion to commence [such] removal proceedings,” Matter


that the Biden Administration is violating the law,” ECF No. 1 ¶¶ 71-72, and so
should be dismissed as redundant. See, e.g., Cantonis Co. v. Certain Interested
Underwriters at Lloyds, London, No. 18-81703-CIV, 2019 WL 3429962, at *4 (S.D.
Fla. May 9, 2019) ); Ministerio Evangelistico Int'l v. United Specialty Ins. Co., No.
16-25313-CIV, 2017 WL 1363344, at *2 (S.D. Fla. Apr. 5, 2017).
                                         24
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 34 of 45




of Avetisyan, 25 I. & N. Dec. 688, 690-91 (BIA 2012), and nothing in the statute

evinces a “stronger indication” of intent to impose a true mandate on the Executive

to mandate removal in every instance. See Town of Castle Rock, 545 U.S. at 761.

      Second, sections 1225(b)(1) and (b)(2) by their terms do not require initiating

removal and detention in all cases. Section 1225(b)(1)—which authorizes the

expedited removal of certain noncitizens—does not mandate expedited removal.

Immigration officers must first make a discretionary determination whether a

noncitizen should be processed under § 1225(b)(1) at all. See Matter of E-R-M-, 25

I. & N. Dec. at 523 (“DHS has discretion to put aliens in [§ 1229a] removal

proceedings even though they may also be subject to expedited removal”). Florida

does not dispute that the BIA has further determined that nothing in the statute

compels “DHS to exercise its prosecutorial discretion to initiate expedited removal

proceedings” in the first place. Matter of J-A-B- & I-J-V-A-, 27 I. & N. Dec. 168,

172 (BIA 2017). The BIA’s longstanding position that DHS has discretion not to

apply § 1225(b)(1) in individual cases is entitled to judicial deference under

Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837

(1984). See INS v. Aguirre-Aguirre, 526 U.S. 415, 424-425 (1999).

      Next, nothing in section 1225(b)(2)(A) mandates the commencement of

removal proceedings under section 1229a against all applicants for admission at the

border or physically present in the country. See, e.g., E-R-M-, 25 I. & N. Dec. at 523


                                         25
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 35 of 45




(noting “broad discretion given to … charging decisions by the Executive Branch,

that is, the DHS, in the immigration context”). Rather, section 1225(b)(2)(A)

“authorizes the Government to detain certain aliens” seeking admission to the United

States if it decides to remove them through section 1229a removal proceedings.

Jennings, 138 S. Ct. at 838. The antecedent decision whether to pursue removal at

all is a separate, discretionary decision of the Secretary that is not subject to judicial

review—just as prosecutors’ decisions whether to bring criminal charges against

suspected offenders are not subject to judicial review. See Arizona, 567 U.S. at 396;

AADC, 525 U.S. at 483, 485-86, 485 n.9. Accordingly, “[i]t is undisputed that

Section 1225(b)(2)(A) only directs [immigration officers] to detain an alien for the

purpose of placing that alien in removal proceedings. The provision does not limit

the authority of DHS to determine whether to pursue the removal of the immigrant”

in the first place. Crane, 783 F.3d at 249.

      As to Plaintiff’s argument that detention is mandatory once proceedings are

initiated, ECF 1 ¶¶ 22-24, nothing in the statute requires DHS to take into custody

and detain all eligible individuals. Instead, as explained, the INA authorizes DHS to

release detained noncitizens in particular circumstances, subject to statutory and

regulatory limitations, including through parole, 8 U.S.C. § 1182(d)(5)(A), or

“bond” and “conditional parole,” 8 U.S.C. § 1226(a)(2)(A)-(B). And as explained,

the decision whether to release is a complex decision that considers many factors,


                                           26
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 36 of 45




and is not subject to judicial review. See 8 U.S.C. § 1252(a)(2)(B)(ii); 1226(e); Loa-

Herrera; 231 F.3d at 991.6

      Finally, to the extent that DHS considers resource constraints when making

case-by-case release decisions, such reliance is permissible. DHS has long

interpreted section 1182(d)(5) to authorize parole of noncitizens who “present

neither a security risk or a risk of absconding” and “whose continued detention is

not in the public interest.” 8 C.F.R. § 212.5(b)(5). It is the agency, not the court, that

determines what undefined statutory terms like “significant public benefit”

warranting parole may include, see 8 U.S.C. §§ 1103(a)(1), 1182(d)(5), and that

determination has always encompassed resource constraints. See e.g., Padilla v. ICE,

953 F.3d 1134, 1145 (9th Cir. 2020), vacated on other grounds, 141 S. Ct. 1041

(2021) (describing ICE policy allowing parole “in light of available detention

resources”); Jeanty, 204 F. Supp. 2d at 1377 (parole decision may take into

consideration “priorities for the use of limited detention space”); Damus v. Nielsen,

313 F. Supp. 3d 317, 324 (D.D.C. 2018) (describing DHS’s “Parole Directive,”

effective since 2009). Thus, even crediting Plaintiff’s allegations that Defendants

case-by-case release decisions relied in part on resource constraints, this practice is


6
  Under 8 U.S.C. § 1252(f)(1), the Court cannot enter an injunction placing
requirements and limitations on Defendants’ authority to charge and detain or
release noncitizens under section 1225, see AADC, 525 U.S. at 481-82; Hamama v.
Adducci, 912 F.3d 869, 880 (6th Cir. 2018), and so Florida’s claims for such
injunctive relief must be dismissed.
                                           27
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 37 of 45




fully consistent with the discretionary authority vested in DHS by the language of

the statute under longstanding interpretation by the agency and courts.

      B. Count Two (APA Arbitrary and Capricious Claim)

      Count Two alleges that “Defendants’ policy is arbitrary and capricious for

several reasons,” including its failure to consider costs to States, their reliance

interests, lesser alternatives, explain its departure from prior practice, and because

any reliance on resource constraints is pretextual. ECF No. 1 ¶¶ 58-63.

      Plaintiff’s argument fails at the threshold because it presumes Defendants’

release practices are spelled out in a policy document that would address such other

considerations. But the only “policy” addressed in such a document at issue here are

NTRs, and the policy document has ended that practice, Ex. A, mooting Plaintiff’s

challenge to it.

      As to Florida’s general “parole” and “release” allegations, no such “policy”

exists and the Complaint does not identify any specific policy, but reveals that the

parole “policy” at issue is Plaintiff’s undeveloped speculation that the release of a

certain threshold number of noncitizens means the Government must not be adhering

to the criteria permitting parole under the statute and regulation. See ECF No. 1 ¶ 30

(“If they are, instead, paroling each of these individuals, they are not limiting the use

of parole to “case-by-case bas[e]s” nor to situations presenting “urgent humanitarian

reasons or significant public benefit.”) (emphasis added). Plaintiff’s mere conjecture


                                           28
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 38 of 45




fails to plausibly allege the existence of any cohesive policy addressing the conduct

at issue. See Twombly, 550 U.S. at 570; Lightfoot, 273 F.R.D. at 326 (cannot allege

a “policy” by looking at disparate individual actions).

      Indeed, Florida appears to be challenging as a “policy” merely an amalgam of

individual release decisions issued under the parole statute and regulation that it

disagrees with. See 8 U.S.C. § 1182(d)(5); 8 C.F.R. § 212.5. However, the APA may

not be invoked to demand “day-to-day agency management” of agency decisions

Norton v. Southern Utah Wilderness Alliance, 542 U.S. 55, 67 (2004). And as

explained, the Court lacks jurisdiction to review these expressly discretionary

individual determinations. See 8 U.S.C. § 1252(a)(2)(B)(ii); supra pp. 15-16.

      Further, the APA’s limitation of review to “agency action” does not permit

this “kind of broad programmatic attack” seeking “wholesale improvement of [a]

program by court decree.’” Norton, 542 U.S. at 64. “Under the terms of the APA,

[Plaintiff] must direct its attack against some particular ‘agency action’ that causes

it harm.” Lujan, 497 U.S. at 891. The APA does not provide a cause of action for

Plaintiff to promote its view of how parole determinations generally must be

decided. See id.; Ctr. for Biological Diversity v. Zinke, 260 F. Supp. 3d 11, 20

(D.D.C. 2017) (“The discreteness limitation precludes using broad statutory

mandates to attack agency policy[.]”). Plaintiff thus fails to allege a cognizable




                                         29
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 39 of 45




“agency action” that could even be scrutinized under the APA for arbitrary and

capricious reasoning.

      C. Count Three (APA Notice and Comment)

      Count Three alleges that Defendants violated 5 U.S.C. § 553, arguing “[e]ven

assuming Defendants have discretion to depart from the clear requirements of the

INA with respect to arriving aliens, a sea change of this magnitude required notice

and comment.” ECF No. 1 ¶¶ 64-66.

      First, this claim suffers the same deficiency as Count Two. The APA only

requires notice and comment for “rule making.” 5 U.S.C. § 533; see id. § 551(4)–

(5) (defining “rule” and “rule making”). Plaintiff has not identified any “rule” that it

challenges regarding parole, but merely what it views as unlawful decisions in

aggregate    of   individual    discretionary   determinations.     These    individual

determinations based on the facts of specific cases are best described as

“adjudications,” not “rules,” and are not bound by notice-and-comment rulemaking.

See 5 U.S.C. § 551(6)–(7); United States v. Florida E. Coast Ry., 410 U.S. 224, 244–

45 (1973).

      Second, regarding the NTR guidance and Defendants alleged general parole

policy—assuming for the sake of argument one exists—both are “general statements

of policy,” 5 U.S.C. § 553(b)(3)(A), that “advise the public prospectively of the

manner in which the agency proposes to exercise a discretionary power,” Lincoln v.


                                          30
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 40 of 45




Vigil, 508 U.S. 182, 197 (1993), and not subject to notice-and-comment rulemaking.

“The key inquiry” separating a rule from a general statement of policy is the extent

to which the challenged policy leaves the agency free to exercise its discretion to

follow or not to follow that general policy in an individual case[.]” Ryder Truck

Lines, 716 F.2d at 1377.

       The policy document ending the NTR practice and providing for Parole Plus

instead, offered guidelines, but no requirement, for when agency officers “may

consider” such release mechanisms, and provide that these discretionary decisions

must still be assessed “on a case-by-case basis.” Ex. A at 1-2. The policy thus “leaves

the agency free to exercise its discretion to follow or not to follow that general policy

in an individual case.” Ryder Truck Lines, 716 F.2d at 1377.

       Similarly, while Plaintiffs do not allege that Defendants have made any

relevant policy statement regarding parole, such statements have historically always

left discretion in the hands of the line officer adjudicators. See ICE, “Exercising

Prosecutorial Discretion Consistent with the Civil Immigration Enforcement

Priorities of the Agency for the Apprehension, Detention, and Removal of Aliens,”

June     17,      2011,      available      at     https://www.ice.gov/doclib/secure-

communities/pdf/prosecutorial-discretion-memo.pdf; ICE Policy Directive No.

11002.1, “Parole of Arriving Aliens Found to Have a Credible Fear of Persecution

or Torture,” Dec. 8, 2009, available at https://www.ice.gov/doclib/dro/pdf/11002.1-


                                           31
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 41 of 45




hd-parole_of_arriving_aliens_found_credible_fear.pdf, § 4.4 (“Parole remains an

inherently discretionary determination entrusted to the agency; this directive serves

to guide the exercise of that discretion.”).

      The alleged “policies,” to the extent they even exist, “do[] not negate the

discretionary nature of” the determination regarding release and “each case receives

individual consideration” indicating that such policies “do[] not establish a ‘binding

norm’” and “need not be promulgated as a rule under the APA.” Bulger, 204 F. Supp.

2d at 1383. Count Three must also be dismissed as a matter of law.

      D. Count Five (INA and Constitution Claim)

      Count Five alleges that “the federal government cannot ignore federal statutes,

and the Constitution—including the separation of powers doctrine and the Take Care

Clause—provides a separate cause of action to challenge the conduct described in

Count 1.” ECF No. 1 ¶¶ 69-70. This Count fails to state a cognizable claim for relief.

      First, Florida offers no factual allegations to support this claim, and its one-

sentence, conclusory, legal assertion is insufficient to plead a claim for relief. See

Iqbal, 556 U.S. at 678.

      Second, even if Florida had offered factual allegation, sections 1225(b) and

1182(d), as explained above, do not override the government’s discretion to decide

whether to initiate proceedings or to release noncitizens on parole or otherwise.

Supra pp. 13-17, 24-28.


                                           32
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 42 of 45




      Third, the separation of powers principle, to the extent it is implicated at all,

defeats Plaintiff’s legal theory. Both the Constitution, and Congress in the INA, vest

the Executive with authority over decisions regarding detention and removal of

noncitizens. See, e.g., Knauff, 338 U.S. at 543; United States v. Velasquez Velasquez,

524 F.3d 1248, 1253 (11th Cir. 2008) (holding that Executive, not judiciary, has the

authority to decide to detain noncitizens); infra p. 34 (explaining that ordering

Executive to take discretionary action would violate separation of powers.

      Finally, Plaintiff’s Take Care Clause argument fails as it is also merely a

conclusory legal assertion, see id., and lacks a cause of action. No court has ever

found that the Take Care Clause provides a private right of action. Las Americas

Immigrant Advocacy Center v. Biden, No. 3:19-cv-02051-IM, slip op. at 7 (D. Or.

Nov. 24, 2021) (collecting cases); see, e.g., City of Columbus v. Trump, 453 F. Supp.

3d 770, 800 (D. Md. 2020) (“No court in this circuit, or any other circuit, has

definitively found that the “Take Care Clause” provides a private cause of action

which a plaintiff may bring against the President of the United States or his

administration.”); Robbins v. Reagan, 616 F. Supp. 1259, 1269 (D.D.C.), aff'd, 780

F.2d 37 (D.C. Cir. 1985) (similar)). The Supreme Court has cautioned courts against

“creat[ing] new causes of action” under the Constitution. See Hernandez v. Mesa,

140 S. Ct. 735, 742 (2020). Plaintiff’s conclusory invocation of this Clause offers no




                                         33
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 43 of 45




basis for this Court to be the first to break with the caution that has deterred all other

courts from recognizing a private right of action.

      Even were the Court to recognize such a cause of action, Plaintiff’s claim still

fails. The Supreme Court has distinguished between duties that are ministerial and

that are “executive and political,” explaining that court lacked authority to order the

Executive to take certain action in the latter case but possibly could for ministerial

duties, because “nothing was left to discretion. There was no room for the exercise

of judgment.” State of Mississippi v. Johnson, 71 U.S. 475, 498, 18 L. Ed. 437

(1866); see Nat'l Treasury Emps. Union v. Nixon, 492 F.2d 587, 608 (D.C. Cir.

1974). Ordering the Executive to take action involving discretion and political

judgment would violate separation of powers “and the general principles which

forbid judicial interference with the exercise of Executive discretion.” Johnson, 71

U.S. at 499.

      Here, Plaintiff requests an injunction requiring Defendants to take action

under sections 1225(b) and 1182(d) that is not purely ministerial, but political, in

that it involves inherently discretionary duties – requiring that the Government

charge and detain noncitizens for removal and deny parole. Plaintiff’s claim falls

squarely under the longstanding bar on judicial interference with the exercise of

Executive discretion, see id., and must be dismissed.




                                           34
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 44 of 45




                                   CONCLUSION

      For the foregoing reasons, the Court must dismiss the Complaint.

Date: December 3, 2021                Respectfully submitted,

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                                       35
    Case 3:21-cv-01066-TKW-ZCB Document 6-1 Filed 12/03/21 Page 45 of 45




                       CERTIFICATE OF COMPLIANCE

       I certify that this brief complies with the type-volume limitation of Local Rule

7.1(F) because, excluding parts of the document exempted by the Rule, it contains

7,776 words.

       I further certify that a conference of counsel pursuant to Local Rule 7.1(B)

was held on December 1, 2021, but it was unsuccessful in resolving the issues absent

litigation.


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                          CERTIFICATE OF SERVICE

       I hereby certify that on December 3, 2021, I electronically filed the foregoing

document with the Clerk of the Court for the United States Court of for the Northern

District of Florida by using the CM/ECF system. Counsel in the case are registered

CM/ECF users and service will be accomplished by the CM/ECF system.

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                                          36
